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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                       BIG STONE GAP DIVISION


 EMMANUEL A. CALTON,                           )
                                               )
                   Plaintiff,                  )     Case No. 2:19CV00042
                                               )
 v.                                            )             ORDER
                                               )
 ANDREW SAUL, COMMISSIONER                     )     By: James P. Jones
 OF SOCIAL SECURITY,                           )     United States District Judge
                                               )
                   Defendant.                  )


       It appearing that no objections have been timely filed to the Report filed

 October 13, 2020, setting forth the findings and recommendations of the magistrate

 judge, it is ORDERED as follows:

       1.    The Report and its findings and recommendations are wholly

 ACCEPTED and APPROVED; and

       2.    Plaintiff’s Motion for Summary Judgment is DENIED and Defendant’s

 Motion for Summary Judgment is GRANTED.

       A final judgment will be entered herewith.

                                             ENTER: November 5, 2020

                                             /s/ JAMES P. JONES
                                             United States District Judge
